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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


DANIEL THOMAS HERSL                           *
                                              *       Crim. No.      GLR-17-106
       v.                                     *       Civ. No.       SAG-20-3213
                                              *
UNITED STATES OF AMERICA                      *
                                              *


                  NOTICE OF DISMISSAL OF 28 U.S.C. § 2255 MOTION

       Petitioner, Daniel Thomas Hersl, through undersigned counsel, Christopher Madiou, Esq.

hereby dismisses under Fed. R. Civ. P. 41(a)(1) his previously filed pro se motions pursuant to

28 U.S.C. § 2255, ECF Nos. 615, 638, 645, 652, 656, and 662.

       I have reviewed Mr. Hersl’s pro se motions as well the record in this case. I have also

had extensive communications with Mr. Hersl, his trial counsel, and engaged in extensive legal

research of the issues raised in Mr. Hersl’s pro se motions. After a full opportunity to consult

with undersigned counsel, Mr. Hersl has authorized me orally and in writing to dismiss his

pending pro se motions. See Ex. A.




                                              Respectfully submitted,



                                              Christopher Madiou, Esq.
                                              Counsel for Daniel Hersl

                                                      APPROVED this 18th day of April, 2024,
                                                      and the Clerk is DIRECTED to CLOSE this
                                                      case.
                                                      _________/s/__________________
                                                      Stephanie A. Gallagher
                                                      United States District Judge
